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                 UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY
                      CAMDEN VICINAGE

                                        MDL No. 2875
IN RE: VALSARTAN, LOSARTAN,
AND IRBESARTAN PRODUCTS                 Honorable Robert B. Kugler,
LIABILITY LITIGATION                    District Court Judge

                                        Oral Argument Requested
This Document Relates to All Actions
                                        Motion Day: November 21,
                                        2022



TPP TRIAL DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
THEIR JOINT MOTION TO COMPEL PRODUCTION OF DOCUMENTS
 AND DATA RELEVANT TO PLAINTIFF’S ALLEGED DAMAGES AND
         TO SET DEADLINES FOR DAMAGES EXPERTS
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      Defendants Zhejiang Huahai Pharmaceutical Co., Ltd., Huahai US Inc.,

Prinston Pharmaceutical Inc. d/b/a Solco Healthcare LLC, Solco Healthcare US,

LLC, Teva Pharmaceuticals USA, Inc., Actavis Pharma, Inc., Actavis, LLC, and

Torrent Pharma Inc. (collectively, the “TPP Defendants”),1 move to compel the

production of documents and data directly relevant to the contested question of

damages in this case, and to set deadlines with respect to damages experts. At the

Case Management Conference on October 6, 2022 (the “October 6 CMC”), the

Special Master directed the parties to submit briefs detailing their respective

positions. In accordance with the Special Master’s instructions, the TPP Defendants

have filed their Joint Motion to Compel Production of Documents and Data Relevant

to Plaintiff’s Alleged Damages and to Set Deadlines for Damages Experts (the

“Motion”), and submit this Memorandum of Law in support of their Motion.

                                 INTRODUCTION
      The Court has determined the first trial in this multi-district proceeding (the

“TPP Trial”) will be a single-plaintiff, non-class trial involving the claims of

Plaintiff MSP Recovery Claims, Series LLC (“MSPRC”) for breach of warranty,

fraud, and consumer protection against the TPP Defendants. The specific claims at

      1
        Plaintiffs also purport to have sued foreign entities Teva Pharmaceutical
Industries Ltd., an Israeli entity, and Torrent Pharmaceuticals Ltd., an Indian entity.
These entities deny that this Court, or any U.S. court, has personal jurisdiction over
them, and deny that they are proper defendants to the TPP Trial, as hereafter defined.
Accordingly, they do not join in the present motion.
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issue in the TPP Trial were assigned to MSPRC by two third-party payor (“TPP”)

assignors operating Medicare Advantage Organization (“MAO”) health plans,

Group Health Incorporated and Health Insurance Plan of Greater New York

(“EmblemHealth”) and Summacare, Inc. (“Summacare”) (collectively, the “MAO

Assignors”). The gravamen of MSPRC’s theory of the case is that the TPP

Defendants’ withdrawal of certain generic valsartan-containing drugs (the “at-issue

valsartan drugs”) starting in 2018 due to the presence of trace amounts of

nitrosamines caused economic injury to the MAO Assignors because they allegedly

paid for or reimbursed the purchase of “worthless” drugs. Based on this core

allegation, MSPRC seeks a windfall: the full amount paid or reimbursed by the MAO

Assignors for the at-issue valsartan drugs at the point of sale going back to 2012.

      To adequately evaluate and challenge this sweeping theory of injury, the TPP

Defendants seek the following three categories of documents:

      Request 2. Subsidy, Reimbursement, and Rebate Data: Data [in Excel
           format] and reports reflecting subsidies, reimbursements, and rebates
           that You received from CMS [Center for Medicare and Medicaid
           Services], including but not limited to prescription drug event (“PDE”)
           reports and all PDE payment records reflecting reimbursements and
           payments for valsartan-containing drugs, and other standard reports and
           data available through CMS which reflect payments made or received
           by You for any prescription drugs for Insureds enrolled in Your Plans
           during the Relevant Time Period, such as Monthly Membership
           Summary Reports, Plan Payment Reports, [and] Payment/Interim Plan
           Payment Records Reports.
      Request 3. CMS Bids: All materials submitted in connection with Your bid
           submissions to CMS as a sponsor for Medicare Part D prescription drug


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             plans for each of the contract years corresponding to the Relevant Time
             Period.

      Request 4. Internal Reporting: Any internal reporting analyzing or
           reflecting projections and actual spend on prescription drugs under
           Your Plans during the Relevant Time Period.
Dkt. 2167 at 5; Dkt. 2167-1 at 2; Dkt. 2167-2 at 3, 5.

      MSPRC has objected to all three Disputed Requests on grounds of relevance

and proportionality, and further objects to Disputed Requests 3 and 4 on the grounds

that they seek proprietary documents and data. These objections are meritless.

      First, the Disputed Requests easily satisfy the liberal standard of relevance at

the discovery stage, because they pertain directly to MSPRC’s asserted damages and

are likely to lead to information probative of whether MSPRC is claiming losses that

its MAO Assignors did not in fact incur. Specifically, the Disputed Requests seek

documents and data applicable to whether MSPRC is claiming damages for amounts

paid by the government, not the MAO Assignors, and whether MSPRC is claiming

damages in excess of the amounts actually incurred by the MAO Assignors as a

consequence of the TPP Defendants’ withdrawal. As other courts overseeing TPP

cases have made clear, these materials not only satisfy the broad relevancy standard

at the discovery stage, but are also admissible at trial.

      Second, MSPRC has not come close to carrying its burden of establishing its

proportionality challenge, i.e., that the requested information is disproportionate to

the needs of this case. After all, the TPP Trial—the very first in this large multi-


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district proceeding—is important and will likely have significant implications for

other TPP cases pending before the Court. Further, the amount in controversy is

high, as reflected by MSPRC’s request for a full refund of all amounts paid or

reimbursed by the MAO Assignors for the at-issue valsartan drugs for a period of

six years—which is likely to be millions of dollars. Moreover, the information is

important—indeed, critical—because it goes to the core of MSPRC’s theory of

injury, which the TPP Defendants have a fundamental right to refute and defend

against at trial. And because only MSPRC has access to the requested information,

and because MSPRC has ample resources as a well-heeled corporate plaintiff, the

burden or expense of the proposed discovery does not outweigh its benefits.

      Third, MSPRC’s objection that the requested documents and data are

proprietary is a red herring. Even assuming the information qualified as trade secret

material, there is a protective order in place to protect its confidentiality, obviating

any concerns regarding the sensitive nature of the materials.

      In short, the TPP Defendants are seeking basic discovery to prepare for trial.

Accordingly, the Court should grant the TPP Defendants’ Motion and compel

MSPRC to produce all documents and data responsive to the Disputed Requests.

      Additionally, the TPP Defendants ask the Court to set deadlines with respect

to the parties’ respective damages experts for the TPP Trial. Case Management

Order 29 (“CMO 29”) [ECF No. 2154] does not set deadlines for damages experts.


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Plaintiffs have taken the position that no deadlines should be set for damages experts

until the Court rules on the pending motions for class certification. But the Court has

repeatedly made clear that the TPP Trial will not be a class trial, and as such it is

both pointless and inefficient to await a ruling on class certification before setting

deadlines for damages experts in the TPP Trial, needlessly delaying the trial

proceedings. The TPP Defendants propose a schedule for disclosure of damages

experts and Rule 702/Daubert motions for damages experts running approximately

seven weeks after the corresponding deadlines for other case-specific experts.

                                 BACKGROUND
      The TPP Defendants’ Motion seeks documents and data responsive to three

Disputed Requests.

      Disputed Request 2 seeks documents and data disclosing the amounts of the

MAO Assignors’ Medicare Part D payments from the government, the components

of the payments, and the information needed to allocate and set off these government

payments, subsidies, and reimbursements from the MAOs’ payments for at-issue

valsartan drugs. Specifically, Disputed Request 2 seeks data reflecting all subsidies,

reimbursements, and rebates received by the MAO Assignors from CMS, including

but not limited to all PDE reports and PDE payment records reflecting

reimbursement requests and payments for valsartan drugs.




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  75   Part D LICS Subsidy                       10      369-378   Format -999999.99
  76   Total Part D Payment                      11      379-389   Format -9999999.99
  78   PACE Part D Premium Add-on                10      392-401   Format -999999.99
  79   PACE Part D Cost Sharing Add-on           10      402-411   Format -999999.99
  85   Part D Coverage Gap Discount Amount       8       448-455   Format -9999.99
  90   Part D Monthly Payment Rate               9       477-485   Format -99999.99


CMS Guide § 6.3, Table 6-10.

       Notably, the documents and data requested by Disputed Request 2 are

standardized materials that CMS requires as part of the calculation and reconciliation

of annual Part D payments, and as part of the risk adjustment system for categorizing

prescription drug conditions. The CMS Guide itemizes these materials. See CMS

Guide §§ 3.7.4, 6.3.1-6.3.2, 6.4, 6.5, 6.6.1-6.6.11, 7.2. Relevant data and reports that

MSPRC should be able to produce readily include, but are not limited to:

       •      Monthly Membership Reports (MMR)

       •      Monthly Membership Summary Data Reports (MMSR)

       •      Monthly Membership Summary Data Files (MMSD)

       •      Plan Payment Reports (PPR)

       •      Plan Payment Report/Interim Payment Data Files (IPPR)

       •      Payment Records Reports

       •      Payment Reconciliation System (PRS) annual reports detailing the
              annual reconciliation based on PDE records

       •      Risk Adjustment System (RAS) Prescription Drug Hierarchical
              Condition Category (RxHCC) Model Output Data Files

       •      RAS RxHCC Model Output Reports

       •      Medicare Advantage Organization (MAO) 004 Reports – Encounter


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             Data Diagnosis Eligible for Risk Adjustment

      •      Prescription Drug Event (PDE) Submittal File

      •      Prescription Drug Event (PDE) PDFS Response Data File

      •      Prescription Drug Event (PDE) DBC Cumulative Beneficiary
             Summary Report

      •      COB-OHI files and COB-OHI Supplement Records, which include
             National Drug Codes (NDCs) submitted by Patient Assistance
             Programs (PAPs).

See CMS Guide §§ 3.7.4, 6.4.3, 6.6, 7.2-7.4, 7.11. Transaction-level data for

valsartan purchases may also be available through the Medicare Advantage

Prescription Drug User Interface (MARx UI) annual or monthly reports. See id. § 6.

      Disputed Requests 3 and 4 seek information regarding MSPRC’s “losses.”

Disputed Request 3 seeks the MAO Assignors’ CMS bids as a sponsor for Medicare

Part D prescription drug plans. These CMS bids are a key part of the enrollment

process with CMS and are a prerequisite to initiate the Part D payment calculation

process. See CMS Guide § 6.3. MAO Plans submit considerable data concerning

their anticipated prescription drug payments as part of their bids, including estimated

monthly amounts to provide prescription drug coverage, amounts to provide

supplemental benefits, actuarial valuation, and estimated revenue, including

administrative costs and return on investment. See 42 C.F.R. § 422.254.

      Request 4 seeks the MAO Assignors’ internal reporting analyzing or

reflecting projections and actual spend on Part D prescription drugs.           These



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documents reflect the MAO Assignors’ tracking of their own prescription drug

spend, including whether they have allocated their spend and/or the accompanying

government payments and reimbursements by drug.

      Thus, disclosure of the CMS bids and internal reporting is likely to disclose

the MAO Assignors’ expectations with respect to prescription drug spending prior

to the withdrawal of the at-issue valsartan drugs, and whether the MAO Assignors’

actual spend corresponded to their expectations following the withdrawal.

                                   ARGUMENT
I.    Legal Standard.
      Federal Rule of Civil Procedure 26 governs the scope of discovery:

             Parties may obtain discovery regarding any nonprivileged
             matter that is relevant to any party’s claim or defense and
             proportional to the needs of the case, considering the
             importance of the issues at stake in the action, the amount
             in controversy, the parties’ relative access to relevant
             information, the parties’ resources, the importance of the
             discovery in resolving the issues, and whether the burden
             or expense of the proposed discovery outweighs its likely
             benefit. Information within this scope of discovery need
             not be admissible in evidence to be discoverable.

Fed. R. Civ. P. 26(b)(1) (emphases added).

      The party seeking discovery has the burden of establishing the “relevance of

the material requested.” Aruanno v. Johnson, No. 2:14-1954-WJM-MF, 2020 U.S.

Dist. LEXIS 71519, *5 (D.N.J. Apr. 23, 2020). If the movant “meets this initial

burden, the burden shifts to the person resisting discovery to establish that discovery

of the material requested is inappropriate.” Id. (citation omitted). “The person

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resisting discovery must explain with specificity why discovery is inappropriate; the

boilerplate litany that the discovery sought is overly broad, burdensome, oppressive,

vague, or irrelevant is insufficient.” Id. (citing Josephs v. Harris Corp., 677 F.2d

985, 991-92 (3d Cir. 1982)); see also United States ex rel. Simpson v. Bayer Corp.,

No. 05-3895 (JLL)(JAD), 2020 U.S. Dist. LEXIS 263055, at *21 (D.N.J. Apr. 16,

2020) (“[a] party resisting discovery on the grounds of burden or expense ‘bears the

burden of showing specifically how the request is burdensome.’”) (quoting Carnegie

Mellon Univ. v. Marvell Tech. Grp., Ltd., 2010 U.S. Dist. LEXIS 125252, at *10

(W.D. Pa. Nov. 29, 2010) (internal citation omitted)). Here, the balance of relevance

and proportionality tips decisively in favor of production.

II.   The TPP Defendants’ Requests Are Highly Relevant To Plaintiff’s
      Theory Of Injury And Damages.

      The TPP Defendants seek documents and data directly relevant to the

contested question of injury and damages at the TPP Trial. It is “well recognized that

the federal rules allow broad and liberal discovery.” Pacini v. Macy’s, 193 F.3d 766,

777-78 (3d Cir. 1999). “Rule 26 is to be construed liberally in favor of disclosure,

as relevance is a broader inquiry at the discovery stage than at the trial stage.” Blum

v. Positive Physicians Ins. Co., Civil Action No. 2:20-cv-05423-SRC-CLWZ, 2021

U.S. Dist. LEXIS 226064, at *8 (D.N.J. Aug. 17, 2021) (collecting cases). The goal

is “to ensure mutual knowledge of all relevant facts.” DIRECTV, Inc. v. Richards,

No. 03-5606 (GEB), 2005 U.S. Dist. LEXIS 43764, at *7-8 (D.N.J. June 22, 2005).


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      Here, the Disputed Requests satisfy this standard because each seeks

documents and data pertaining to the determination and calculation of MSPRC’s

injury and damages—which are limited to the MAO Assignors’ actual, out-of-

pocket damages. See Sieger v. Louis Zak & Powersystems Int’l, Inc., No. 19978/05,

35 Misc. 3d 1229(A), 2012 N.Y. Misc. LEXIS 2419, at *1 (Sup. Ct. 2012)

(“Damages for breach of warranty are generally measured on an ‘out-of-pocket

basis.’”); Gen. Motors Acceptance Corp. v. Grady, 501 N.E.2d 68, 72-73 (Ohio Ct.

App. 1985) (stating measure of damages for breach of warranty is “loss resulting

from the breach” and applying “monies expended” by the buyer as the appropriate

measure); In re Eugenia VI Venture Holdings, Ltd. Litigation, 649 F. Supp. 2d 105,

121 (S.D.N.Y. 2008) (citing Lama Holding Co. v. Smith Barney, 88 N.Y.2d 413, 421

(N.Y. 1996) (“In New York, damages for claims of fraud and fraudulent inducement

are subject to the ‘out-of-pocket rule,’ which confines plaintiffs to recovering actual

losses sustained as the direct result of the wrong alleged, and excludes expected

profits.”); Auto Chem Labs., Inc. v. Turtle Wax, Inc., No. 3:07cv156, 2010 U.S. Dist.

LEXIS 100677, *21 (S.D. Ohio Sept. 24, 2010) (quoting Restatement (Second) of

Torts § 549) (applying out-of-pocket measure of damages to fraud claims and

allowing recovery of “the pecuniary loss to [plaintiff] of which the misrepresentation

is a legal cause”)); Ostano Commerzanstalt v. Telewide Sys., Inc., 880 F.2d 642,

649 (2d Cir. 1989) (noting that “benefit-of-the-bargain damages for breach of


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contract and warranty” and “out-of-pocket expenses for fraud” are equivalent

measures of damages under New York law and recovery of both would constitute a

“double recovery”); N.Y. GBL § 349(h) (applying “actual damages” standard for

New York consumer protection violations); N.Y. GBL § 350-e(3) (same); Stutman

v. Chemical Bank, 95 N.Y.2d 24, 29 (N.Y. 2000) (“[A] plaintiff must prove ‘actual’

injury to recover under [section 349], though not necessarily pecuniary harm.”);

Ohio Rev. Code Ann. § 1345.09(A) & (B) (applying “actual economic damages”

standard for Ohio consumer protection violations); Felix v. Ganley Chevrolet, Inc.,

49 N.E.3d 1224, 1231 (Ohio 2015) (requiring claim under Ohio Consumer Sales

Practices Act to plead and prove “actual damages” that “were proximately caused

by the defendant’s conduct”).

      Because MSPRC’s purported injuries are limited to the MAO Assignors’

actual losses, their claimed damages must exclude government benefits and

reimbursements, among other non-recoverable amounts—information that is sought

in Disputed Request 2. In addition, the TPP Defendants are entitled to information

regarding the purported impact of the withdrawal of the at-issue valsartan drugs had

on the MAO Assignors’ actual losses, including actual loss relative to their

expectations, which is the crux of Disputed Requests 3 and 4. See JLJ Inc. v. Rankin

& Houser, Inc., 2010-Ohio-3912, ¶ 21 (Ohio Ct. App. 2010) (quoting Textron Fin.

Corp. v. Nationwide Mut. Ins. Co., 115 Ohio App.3d 137, 144, 684 N.E.2d 1261


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(Ohio Ct. App. 1996)) (holding that “expectation damages” for breach of contract

“are limited to actual loss, which loss must be established with reasonable

certainty”).

      A.       Information Regarding Government Payments, Benefits, And
               Subsidies Is Relevant to MSPRC’s Actual Damages.
      Disputed Request 2 seeks relevant documents and data relating to amounts

received by the MAO Assignors from the government, which must be excluded from

MSPRC’s asserted losses. The Southern District of New York directly addressed the

relevance of materials like those sought by Defendants here two months ago in In re

Namenda Indirect Purchaser Antitrust Litig., No. 1:15-cv-6549 (CM) (RWL), 2022

U.S. Dist. LEXIS 149561 (S.D.N.Y. Aug. 15, 2022). There, the state antitrust

statutes on which the plaintiffs based their claims, like the state consumer protection

statutes at issue here, “limit[ed] recovery to ‘actual damages’ or ‘actual damages

sustained.’” Id. at *37. Applying that measure in the context of a motion in limine,

the court explained that “[a]ny benefits, including discounts or subsidies, that flowed

to a [TPP] plaintiff must be used to reduce the amount of damages suffered by that

plaintiff.” Id. (emphasis added). Thus, to the extent a TPP “receive[d] any form of

payment that covers all of part of its memantine prescription costs, those payments

must be deducted from damages.” Id. As the court put it, “[t]his is not even a close

question - subsidies, of all forms, are a damages set off and the jury (assuming we

have a jury trial on damages) will be so instructed.” Id. (emphasis added).


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      That analysis is equally applicable here. It is “not even a close question” that

MSPRC must deduct from its damages the amounts its MAO Assignors received

from government benefits, subsidies, reimbursements, discounts, or other payments

allocable to its purchase of at-issue valsartan drugs. And because Disputed Request

2 seeks documents and data disclosing those amounts, the information the TPP

Defendants seek is relevant.

      MSPRC’s counsel nevertheless sought to distinguish In re Namenda at the

October 6 CMC by arguing that: (1) it involved a motion in limine; (2) it involved

damages only under an Illinois statute; and (3) government payments are not

allocated to specific prescription drug purchases. [Dkt. 2172, Transcript, October 6,

2022 Case Management Conference (“CMC Tr.”), at 35:19-36:5, 41:7-11]. These

distinctions lack merit.

      First, counsel’s first argument only reinforces the need for discovery. In In re

Namenda, the court found that the issue of government payments and

reimbursements as an offset to damages was not only relevant, but admissible at

trial. It follows perforce that such matters are certainly relevant for purposes of

discovery, which is governed by an even broader standard. In short, MSPRC

counsel’s argument regarding the in limine posture of In re Namenda is backwards.

      Second, MSPRC’s counsel appears to have confused the opinion’s reference

to “Illinois Brick-repealer state statutes,” In re Namenda, 2022 U.S. Dist. LEXIS


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149561, at *37, as meaning that it was limited solely to Illinois law. However, the

court was not referring to one Illinois statute, but rather to the approximately 35

states (including New York) that have passed uniform state antitrust laws rejecting

the ruling in Illinois Brick v. Illinois, 431 U.S. 720 (1977), and allowing indirect

purchasers to recover “actual damages” arising from state antitrust violations. See,

e.g., N.Y. GBL § 340 (allowing “any person who shall sustain damages” by a

violation of state antitrust statute to recover “three-fold the actual damages

sustained”). Needless to say, limiting recovery to “actual damages” is hardly unique

to state antitrust law. Rather, as previously discussed, all of MSPRC’s state law

claims in this case involve an actual damages restriction. Indeed, the New York

consumer protection statutes use language very similar to the state antitrust statute

to define recoverable damages in consumer protection cases, confirming that the

logic of In re Namenda applies to this case. See N.Y. GBL § 349(h) (allowing “any

person who has been injured” by a violation to recover “actual damages” subject to

discretionary tripling up to $1,000 for willful or knowing violations); N.Y. GBL §

350-e(3) (same for violations of New York GBL § 350).

      Third, MSPRC counsel’s third argument—that government payments are not

allocated to specific prescription drug purchases—is both wrong and beside the

point. The gist of this argument is that government payments to the MAO Assignors

for prescription drugs are analogous to private insurance premiums that flow to a


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TPP as a lump sum and are not allocated for specific outlays like prescription drug

purchases. [CMC Tr. at 32:11-15.] However, as previously discussed, Part D

payments are comprised of 13 components reflecting discrete benefits, payments,

subsidies and discounts paid by the government specifically for prescription drug

coverage. Thus, unlike lump private insurance premiums received from private plan

beneficiaries, the MAO Assignors received discrete Part D benefits and the like

specifically applied to prescription drug purchases.

      In any event, as In re Namenda teaches, whether government payments are

properly classified as a “reimbursement” and are allocable to a specific drug

purchase is a matter for the trier of fact based on the parties’ competing expert

evidence. See In re Namenda, 2022 U.S. Dist. LEXIS 149561, at *38-39 (concluding

that the “complex set of coverages and reimbursements,” including “how much of

the cost” of the prescription drug “ends up being borne by the Government” rather

than the plaintiff, was a matter of legitimate disagreement among the experts and,

therefore, ultimately “a question of fact for the trier of fact[.]”). As a result, it is

critical that the TPP Defendants obtain the documents and data pertaining to the

government’s Part D payments so that they can determine how to calculate and

allocate the portion of such benefits attributable to the particular drugs at issue here.

At most, MSPRC’s argument is “fair game for cross examination,” id. at *39-40, not

a basis for excluding evidence, much less precluding discovery.


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      Notably, although case-specific discovery has only just begun for the TPP

Trial, the record developed in connection with class certification confirms the

relevance of the information sought in Disputed Request 2. After all, as Defendants’

various experts explained, a fundamental flaw in the class damages model proffered

by Dr. Rena Conti is that it fails to “take into account those expenditures for these

[valsartan] prescriptions that are government funded,” and only eliminates certain

specific government assistance programs. Dkt. 2009-29, at Ex. 210 [Kosty Dep.]

164:4-165:16; see also Dkt. 2009-29, at Ex. 211 [Stiroh Dep.] at 104:19-105:7

(aggregate damages amounts may fail “to include things like discounts or rebates

that were given at a time and collected in a different database and cannot be

accurately tied back to the initial purchase.”). According to Defendants’

pharmaceutical industry expert, Timothy Kosty, “determining the cost of an at-issue

prescription, if any, borne by” the MAO Assignors “requires a significant amount of

information on the subsidies paid by the government entities[.]” Dkt. 2009-18

[Kosty Rep.] ¶ 85. That is exactly what Disputed Request 2 seeks and what is

essential to the TPP Defendants’ ability to fairly and adequately refute MSPRC’s

theory of injury and damages at trial.

      B.     Information Regarding What Impact The Withdrawal Of At-Issue
             Valsartan Had On The MAO Assignors’ Alleged Losses Is Also
             Highly Relevant To Injury And Damages.

      Disputed Requests 3 and 4 also seek documents and data that are highly



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relevant to the fundamental question of injury and damages. As defense expert Dr.

Lauren Stiroh explained in connection with Defendants’ opposition to class

certification, determining any particular TPP’s actual damages would require

additional information regarding “the costs to TPPs” for the at-issue valsartan drugs

and replacement medications, and a “fact-intensive inquiry.” Id. ¶ 7(vii). In

particular, to assess “the damages incurred by any individual [TPP],” therefore, “you

would need information on the price that that actual [TPP] paid,” meaning “the

actual expenditure” or “the amount that they actually paid” for the at-issue valsartan

drugs. Stiroh Dep. at 105:11-19, 107:16-22. Dr. Kosty similarly explained that

determining what entity “actually incurred the cost of a prescription—in whole or in

part—is highly complex and requires a significant amount of information specific to

the purchase, the pharmacy benefit design, the transactions that occurred prior to the

dispensing of the prescription to the consumer, and any reconciliations that occurred

subsequently.” Kosty Rep. ¶ 83.

      The information sought by Disputed Requests 3 and 4 would help the TPP

Defendants and their experts perform this “fact-intensive inquiry.” Request 3 seeks

the MAO Assignor’s CMS bids for Part D prescription drug benefits, which contain

a plethora of data concerning expected versus actual drug payments, including

estimated monthly amounts to provide prescription drug coverage, amounts to

provide supplemental benefits, actuarial valuation, and estimated revenue, including


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administrative costs and return on investment. See 42 C.F.R. § 422.254. In short,

Disputed Request 3 is probative of the MAO Assignors’ expectations with respect

to their prescription drug spend, prior to the withdrawal. Disputed Request 4 seeks

the MAO Assignors’ internal reporting analyzing or reflecting projections and actual

spend on Part D prescription drugs. All of this information can be used to assess

whether there was any deviation from the MAO Assignors’ estimated drug

payments, estimated revenue, or estimated return on investment as a result of the

withdrawal of the at-issue valsartan drugs—that is, whether the withdrawal of the

medications caused the MAO Assignors’ any actual damages or losses.

       In sum, each of the Disputed Requests seeks information that is essential to

resolving the fundamental injury and damages questions in this case, easily

satisfying the relevance standard that governs discovery.

III.   The TPP Defendants’ Requests Are Proportional to the Needs of the
       Case.

       MSPRC cannot meet its burden of demonstrating with specificity that

producing the requested information would be unduly burdensome and

disproportionate to the needs of the case. See Josephs, 677 F. 2d at 991-92 (“the

party resisting discovery must show specifically how … each question is overly

broad, burdensome or oppressive.”) (internal quotation marks and citation omitted).

Rule 26 sets forth six factors for assessing proportionality: (1) the importance of the

issues at stake in the action; (2) the amount in controversy; (3) the parties’ relative


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access to relevant information; (4) the parties’ resources; (5) the importance of the

discovery in resolving the issues; and (6) whether the burden or expense of the

proposed discovery outweighs its likely benefit. Fed. R. Civ. P. 26(b)(1).

“Proportionality determinations are made on a case-by-case basis.” Occidental

Chem. Corp. v. 21st Century Fox Am., Inc., No. 18-11273 (MCA)(JD), 2020 U.S.

Dist. LEXIS 72077, at *146 (D.N.J. Apr. 23, 2020). “No single factor is designed to

outweigh the other factors in determining whether the discovery sought is

proportional.” Id. (quoting Employers Ins. Co. of Wausau v. Daybreak Express, Inc.,

2017 U.S. Dist. LEXIS 86224, at *5 (D.N.J. June 5, 2017)). In this instance, all six

factors support production of the requested documents and data.

      A.     The Issues At Stake In The Litigation Are Important And Likely
             To Affect Other Cases In The MDL.

      The importance of the issues at stake in this case is beyond dispute, as is the

importance of the requested discovery to the resolution of such issues. The TPP

Defendants have propounded the Disputed Requests to aid their defense in the first

trial in this large multi-district proceeding, the outcome of which is likely to have

significant implications for the broader litigation. Indeed, the upcoming trial will be

the first case to test both Plaintiffs’ liability and damages theories on each of the

economic loss claims (breach of express and implied warranty, common law fraud,

and consumer protection), and the TPP Defendants’ defenses to Plaintiffs’ claims

and damages. The Disputed Requests pertain to MSPRC’s damages and injury


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theory for all claims, and the consequences could be considerable. Mr. Kosty

estimates, for example, that government payments are expected to cover 74.5 percent

of MAO Plans’ costs for prescription drug benefits. Dkt. 2009-18 [Kosty Rep.] ¶ 50.

Thus, discovery on these issues could implicate three-quarters or more of MSPRC’s

asserted damages in this test case, providing a significant basis for challenging

MSPRC’s theory of injury and loss. While prior discovery leading up to the parties’

class certification briefing focused on whether the TPP Plaintiffs’ damages model

was susceptible to class treatment, the Disputed Requests are tailored towards

collecting information directly relevant to damages for a non-class, single plaintiff

TPP trial of the MAO Assignors’ specific claims.

      B.        There Is a Significant Amount in Controversy.

      The requested discovery is also proportional in light of the substantial amount

in controversy, totaling potentially millions of dollars in alleged damages. MSPRC

has produced data indicating that, at the point of sale and without accounting for

government subsidies, reimbursements, and payments,




                                   . See Ex. A: Dep. of C. Miranda at 99:9-23, Ex. 9

(under seal).




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      C.    Only MSPRC and Its Assignors Have Access to the Requested
            Documents and Data.

      The requested discovery is also proportional because the TPP Defendants

have no other means for obtaining the information they seek. The documents and

data sought by the Disputed Requests are not publicly available; rather, only MSPRC

and the MAO Assignors have access to the materials sought. MSPRC has already

collected substantial data from the MAO Assignors. Moreover,




See Dkt. 2009-3, at Ex. 30 [Dep. of J. Lopez] at 64:21-65:11, 82:24-84:8; Ex. B

(Lopez Deposition Exhibit 2) (under seal).

      D.    MSPRC Has Ample Resources.
      The discovery is also proportional given MSPRC’s significant resources that

distinguish it from an ordinary individual plaintiff. MSPRC is a publicly-traded

company, trading on the NASDAQ exchange under the symbol MSPR, with total

assets according to its most recently filed Form 10-K exceeding $230 million.

According to MSPRC’s most recently announced quarterly results, the company has

seen substantial growth of assets from $104 million as of December 31, 2021 to $6.6

billion as of June 30, 2022, with cash and cash equivalent liquidity as of June 30,

2022 of $25 million, and $36.5 million prepaid for MSP Law Firm expenses.




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      E.     The Requested Discovery Is Important to Resolve the Claims at
             Issue in the TPP Trial.

      The requested discovery also satisfies the proportionality requirement because

it is important to resolve MSPRC’s claims at trial. As discussed in § III.A, supra,

the TPP Trial itself will be a highly consequential proceeding, as the first trial in this

large multi-district proceeding. In addition, the Disputed Requests are important to

the resolution of that proceeding, because they are likely to play a critical role in

evaluating and contesting MSPRC’s theory of injury and damages. Indeed, as

previously discussed, recent authority indicates that the admissibility of the

requested information regarding government payments “is not even a close

question,” In re Namenda, 2022 U.S. Dist. LEXIS 149561, at *37, reflecting a level

of importance that necessarily applies with even greater force in the context of

discovery. And the expert evidence developed in connection with class certification

briefing only confirms that such information is integral to refuting Plaintiff’s flawed

theory of loss. In short, the requested discovery is not peripheral; it goes to the core

of the claims and defenses in this case, further demonstrating proportionality.

      F.     The Requested Discovery Involves Minimal Burden or Expense.

      Finally, the discovery is proportional because the burden and expense of

responding to the Disputed Requests should be minimal. As previously discussed,

the substantial majority of the documents and data requested by the TPP Defendants

in Disputed Request 2 are comprised of standardized materials required by CMS.


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Thus, MSPRC need only assemble and produce materials CMS already requires, in

the format CMS requires. The remaining materials sought by Disputed Requests 3

and 4 consist of CMS bids and specific internal reports. Given the relevance and

importance of these documents and data to damages, the benefits and importance of

the requested discovery clearly outweigh any burden or expense entailed in

responding to the Disputed Requests.

IV.   The Court Should Set Deadlines with Respect to Damages Experts.
      CMO 29 does not contain case management deadlines for the parties’

respective damages experts for the TPP Trial, and the parties have been unable to

reach agreement on proposed deadlines for damages experts. Following a meet-and-

confer on September 12, 2022, counsel for TPP Defendants understood the parties

had reached agreement that MSPRC’s damages calculations and supporting

documentation would be produced in conjunction with Plaintiffs’ expert disclosures

pursuant to CMO 29, and memorialized this understanding by letter to Plaintiffs’

counsel dated September 23, 2022. [Dkt. 2167-2, at 3]. At the October 6 CMC,

however, Plaintiffs’ counsel took a contrary position that MSPRC would not be

making its damages expert disclosures in accordance with the CMO 29 deadlines.

After multiple meet-and-confer discussions, Plaintiffs have taken the positions that:

(1) the deadlines in CMO 29 do not apply to damages experts; and (2) no deadlines

should be set with respect to damages experts for the TPP Trial until the Court rules



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on the pending class certification motions.

      Defendants agree with the first point but disagree with the second. The

deadlines set forth in CMO 29 do not, on their face, apply to damages experts,

necessitating the entry of case management deadlines with respect to damages

experts. It makes no sense, however, to await a ruling on class certification before

setting such deadlines. The Court has repeatedly made clear that the TPP Trial will

not be a class trial. As the Court reiterated at the August 24, 2022 Case Management

Conference (“Aug. 24, 2022 CMC”): “It will be a single plaintiff. The problem is,

of course, as has been noted by counsel, is the one-way intervention problem and

now the class representative problem. So it's going to be a one-plaintiff trial, not a

class trial that we do.” Aug. 24, 2022 CMC Tr. at 19:2-6 (emphasis added). See also

id. at 24:7-11 (reiterating “[i]t’s going to be one plaintiff” and “we are just going to

have one plaintiff” and stating that even if the Court grants class certification, the

most it would entertain for the TPP Trial is a motion for “some kind of very limited

sub, sub, sub-class”). The TPP Trial and the Court’s ruling on the pending motions

for class certification are separate matters. Waiting for a ruling on class certification

(and any appeal of such a ruling) before even setting deadlines for damages experts

just needlessly delays the TPP Trial.

      Accordingly, TPP Defendants request that the Court set case management

deadlines with respect to damages experts, and propose that the Court set such


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deadlines approximately seven weeks behind the corresponding deadlines for other

case-specific experts under CMO 29, as follows:

         • MSPRC to serve damages expert report(s): December 19, 2022
         • TPP Defendants to serve damages expert report(s): February 6, 2023
         • Deadline to complete damages expert depositions: March 31, 2023
         • Deadline for Rule 702/Daubert motions on damages experts: April 3,
           2023
         • Deadline for responsive briefs on Rule 702/Daubert motions on
           damages experts: April 24, 2023
         • Deadline for reply briefs on Rule 702/Daubert motions on damages
           experts: May 8, 2023

      The proposed deadlines are reasonable, afford the parties sufficient time to

prepare their respective reports and to conduct discovery, and avoid undue delay of

the TPP Trial schedule.

                                  CONCLUSION
      For the foregoing reasons, the TPP Defendants respectfully request that this

Court enter an Order: (1) compelling MSPRC to produce documents and data

responsive to Disputed Requests 2 through 4, including documents and data in the

possession of EmblemHealth or Summacare and accessible to MSPRC in

accordance with its assignments; (2) setting case management deadlines for damages

experts as proposed above; and (3) granting such other and further relief as the Court

deems necessary or appropriate.




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Dated: October 20, 2022             By: /s/ Gregory E. Ostfeld

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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on October 20, 2022, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system which will send

a notice of electronic filing to all CM/ECF participants in this matter.

                                              /s/ Gregory E. Ostfeld
                                              Gregory E. Ostfeld
